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                       Exhibit 10
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Archived: Thursday, December 12, 2019 9:32:14 AM
Sent: Thursday, December 12, 2019 9:31:42 AM
Subject: Switch subpoena of JLL (Fairfax)
Response requested: No
Importance: Normal




From: Sam Castor [mailto:sam@switch.com]
Sent: Monday, November 04, 2019 11:45 AM
To: Farris, Joseph <Joseph.Farris@arnoldporter.com>
Cc: Jacob A. Reynolds <JReynolds@hutchlegal.com>; Anne-Marie Birk <abirk@switch.com>; Tanya Paonessa
<tpaonessa@switch.com>; Feather Lake <feather@switch.com>; Kevin Everage <keverage@switch.com>;
Emily Shaevitz <eshaevitz@switch.com>; Berta, Michael A. <Michael.Berta@arnoldporter.com>
Subject: RE: Switch subpoena of JLL (Fairfax)

Thank you. Just following up.

If I don’t get an answer today, we’ll proceed with a motion to compel as we have already met and conferred
on this.

From: Farris, Joseph <Joseph.Farris@arnoldporter.com>
Sent: Friday, November 1, 2019 3:49 PM
To: Sam Castor <sam@switch.com>
Cc: Jacob A. Reynolds <JReynolds@hutchlegal.com>; Anne-Marie Birk <abirk@switch.com>; Tanya Paonessa
<tpaonessa@switch.com>; Feather Lake <feather@switch.com>; Kevin Everage <keverage@switch.com>;
Emily Shaevitz <eshaevitz@switch.com>; Berta, Michael A. <Michael.Berta@arnoldporter.com>
Subject: RE: Switch subpoena of JLL (Fairfax)

Sam,

Mike is not in the office today. We’re reviewing your email and will get back to you after the weekend.

Thanks,
Joe

_______________
Joseph Farris
Arnold & Porter
Three Embarcadero Center | 10th Floor | San Francisco | CA 94111-4024
T: +1 415.471.3454 | F: +1 415.471.3400
joseph.farris@arnoldporter.com | www.arnoldporter.com


From: Sam Castor <sam@switch.com>
Sent: Thursday, October 31, 2019 10:02 AM
To: Berta, Michael A. <Michael.Berta@arnoldporter.com>; Farris, Joseph <Joseph.Farris@arnoldporter.com>
Cc: Jacob A. Reynolds <JReynolds@hutchlegal.com>; Anne-Marie Birk <abirk@switch.com>; Tanya Paonessa
       Case 2:17-cv-02651-GMN-EJY Document 66-10 Filed 03/20/20 Page 3 of 5


<tpaonessa@switch.com>; Feather Lake <feather@switch.com>; Kevin Everage <keverage@switch.com>;
Emily Shaevitz <eshaevitz@switch.com>
Subject: RE: Switch subpoena of JLL (Fairfax)

External E-mail

Michael/Joseph,

I have yet to hear from you. Please let me know if you agree or disagree by tomorrow.




                  SAM CASTOR
                  EVP OF POLICY
                  DEPUTY GENERAL COUNSEL

                  o   +1 (702) 444-4102
                  m   +1 (702) 371-0724
                  e   sam@switch.com
                  +   Switch e-card
                  We use e-cards to reduce waste of natural resources and promote sustainability.




From: Sam Castor
Sent: Wednesday, October 30, 2019 1:57 PM
To: 'Michael.Berta@arnoldporter.com' <Michael.Berta@arnoldporter.com>; Joseph.Farris@arnoldporter.com
Cc: 'Jacob A. Reynolds' <JReynolds@hutchlegal.com>; Anne-Marie Birk <abirk@switch.com>; Tanya Paonessa
<tpaonessa@switch.com>; Feather Lake <feather@switch.com>; Kevin Everage <keverage@switch.com>;
Emily Shaevitz <eshaevitz@switch.com>
Subject: Switch subpoena of JLL (Fairfax)
Importance: High

Michael/Joseph,

Thank you for the meet and confer conversation a few days ago. I look forward to resolving this
issue rapidly and efficiently.


   1. Case Law

As discussed, I would appreciate you sharing the case law you said you had that supports your
contention that it is improper for us to seek discovery from third parties involved in the facts of a
case, because “you are afraid we will sue you too.” Feel free to correct me if I misunderstood your
position, or send along case law that justifies that position.

And again, for clarity, we maintain this is not a “fishing expedition”, but rather a reasonable
discovery exercise to evaluate what we view as a clear nexus between JLL, Fairfax and Aligned. Rule
26 of the FRCP is clear. We are entitled to “obtain discovery regarding any non-privilege matter that
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is relevant” to our claims. And “[i]nformation within this scope of discovery need not be admissible
in evidence to be discoverable.”

Given the relationship between JLL, Fairfax, and Aligned, there is more than a sufficient factual nexus
to justify discovery and the reasonableness of our subpoena requests. As such, I expect revised
responses with all documents by November 30th.

   2. Your Non-Responsive Answers to Our Subpoena

As for the individual requests to which you have refused to provide a single document, my goal is
reasonableness and efficiency for both sides. I am open to exploring search terms, and discussing hit
results as long as you get them back to me by November 14th.

For requests 1 through 7, you use the same boilerplate objection that contains essentially four (4)
sub parts: (1) “the request seeks discovery that is properly obtained from the parties to this action”;
(2) “is not reasonably limited in time or in subject matter”; (3) “is not reasonably limited in subject
matter” and (4) “expressly calls for the production of confidential and trade secret information.” I
address each in turn below.

   1. The objection that we can “obtain the information from another party” is not a valid
      objection. We are entitled to compare and contrast discovery productions to verify accuracy
      and completeness. There are also emails/documents only your client would likely have.

   2. As for the “reasonably limited in time” objection, such an objection would be appropriate if
      any of the requests lacked a date reference but these do not. Each of the requests uses the
      date range January 1, 2011 to the present. This is a reasonable date range. It is less than ten
      years. And the facts at issue arose in early 2011 and again in 2015 and again in 2018.
      Communications between your client and Fairfax, and the other witnesses in this case are
      presumably ongoing. Additionally, this matter involves hundreds of millions of dollars of
      contracts and intellectual property. As such, we are entitled to this widow, as it is
      “proportional to the needs of the case”.

   3. Lastly, the requests are reasonably limited in subject matter. They all pertain to
      communications between Switch and another entity (namely, Inertech, Uber, eBay, PayPal,
      Aligned, and Aligned Energy).

   4. None of the requests “expressly call for the production of confidential and trade secret
      information”. However, I am open to you labeling all information that you deem confidential
      or a trade secret as “Confidential Attorneys Eyes Only” and we will treat it accordingly. I trust
      this resolves your concerns.

After our discussion, and reviewing these requests yet again, I am very concerned by these weak
responses and I am hard pressed not to argue your objections are waived. I appreciate we’re all
human. And I am seeking production, not a discovery battle. So I will forestall a motion to compel if
I receive revised and complete responses by November 29, 2019. The requests and your objections
are attached and the requests are embedded below for your convenience. If you would like to
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provide hit results by November 14th, so we can discuss narrowing of search terms, I am also open to
that discussion, provided all production occurs by November 29, 2019.

Thank you again.




DOCUMENTS REQUESTED
1.    All communications with any employee, officer, or representative of MTechnology, including
Stephen Fairfax, including but not limited to, emails to or from addressees ending with the address
“@mtechnology.net”) from January 1, 2011 to present, regarding Switch.
2.    All communications with any employee, officer, or representative of Inertech from January 1,
2011 to present, regarding Switch.
3.    All communications with any employee, officer, or representative of Uber from January 1,
2011 to present, regarding Switch.
4.    All communications with any employee, officer, or representative of eBay from January 1,
2011 to present, regarding Switch.
5.    All communications with any employee, officer, or representative of PayPal from January 1,
2011 to present, regarding Switch.
6.    All communications with any employee, officer, or representative of Aligned from January 1,
2011 to present, regarding Switch.
7.    All communications with any employee, officer, or representative of Aligned Energy from
January 1, 2011 to present, regarding Switch.


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